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 3
                          THE UNITED STATES DISTRICT COURT
 4                    FOR THE WESTERN DISTRICT OF WASHINGTON
 5

 6    CENTER FOR FOOD SAFETY,               ) Case No. 2:17-cv-01209-RSL
                                            )
 7               Plaintiff,                 )
                                            )
 8                       v.                 )
                                            )
 9
      U.S. ARMY CORPS OF ENGINEERS, et al., )
10                                          )
                 Defendants,                )
11                                          )
                 and                        )
12                                          )
      PACIFIC COAST SHELLFISH GROWERS )
13
      ASSOCIATION,                          )
14                                          )
                 Intervenor-Defendant       )
15                                          )
                                            )
16                                          )
      THE COALITION TO PROTECT PUGET        ) Case No. 2:16-cv-00950-RSL
17
      SOUND HABITAT,                        )
18                                          ) ORDER LIFTING STAY
                 Plaintiff,                 )
19                                          )
                         v.                 )
20                                          )
21    U.S. ARMY CORPS OF ENGINEERS, et al., )
                                            )
22               Defendants,                )
                                            )
23               and                        )
                                            )
24    TAYLOR SHELLFISH COMPANY, INC.,       )
25                                          )
                 Intervenor-Defendant       )
26                                          )


     ORDER LIFTING STAY
     CASE NOS. 2:17-CV-01209 AND 2:17-CV-00950
              Case 2:17-cv-01209-RSL Document 55 Filed 02/05/19 Page 2 of 2




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                                        ORDER LIFTING STAY
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            This matter comes before the Court on the parties’ Stipulated Motion to Lift Stay and
 4
     Reset Deadlines filed in C16-0950RSL and C17-01209. The motion is GRANTED. The Clerk of
 5

 6   Court is directed to renote the cross-motions for summary judgment (Dkt. #36 and #44 in C16-

 7   0950RSL; Dkt. #31, #43, and #44 in C17-1209RSL) on the Court’s calendar for Friday, March 1,

 8   2019. The deadline for Defendants’ and Intervenor’s replies in support of their cross-motions for
 9
     summary judgment is February 27, 2019.
10

11
            Dated this 5th day of February, 2019.
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13
                                                  A
                                                  Robert S. Lasnik
14
                                                  United States District Judge
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     ORDER LIFTING STAY
     CASE NOS. 2:17-CV-01209 AND 2:17-CV-00950
